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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
 BLACK LOVE RESISTS IN THE RUST :
 by and through MARIELLE SHAVONNE :
 SMITH and CHARIS HUMPHREY on                                :
 behalf of its members; SHAKETA                              :
 REDDEN; DORETHEA FRANKLIN;                                  :
 TANIQUA SIMMONS; DE’JON HALL; :
 JOSEPH BONDS; CHARLES PALMER; :                                 NOTICE OF MOTION FOR CLASS
 SHIRLEY SARMIENTO; EBONY                                    :   CERTIFICATION
 YELDON; and JASMINE EVANS,                                  :
                                                                 Case No.: 1:18-cv-00719-CCR
 individually and on behalf of a class of all :
 others similarly situated,                                  :
                                                             :
                          Plaintiffs,                        :
                                                             :   ECF Case
                          v.                                 :
                                                             :
CITY OF BUFFALO, NY; BYRON B.                                :
BROWN, Mayor of the City of Buffalo, in :
his individual and official capacities;                      :
BYRON C. LOCKWOOD, Commissioner :
of the Buffalo Police Department, in his                     :
individual and official capacities; DANIEL :
DERENDA, former Commissioner of the :
Buffalo Police Department, in his individual :
capacity; AARON YOUNG, KEVIN                                 :
BRINKWORTH, PHILIP SERAFINI,                                 :
ROBBIN THOMAS, UNKNOWN                                       :
SUPERVISORY PERSONNEL 1-10,                                  :
UNKNOWN OFFICERS 1-20, each                                  :
officers of the Buffalo Police Department, in :
their individual capacities,                                 :
                                                             :
                          Defendants.                        :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                    PLEASE TAKE NOTICE that Plaintiffs Black Love Resists in the Rust, Shaketa

Redden, Dorothea Franklin, Taniqua Simmons, De’Jon Hall, Joseph Bonds, Charles Palmer,

Shirley Sarmiento, Ebony Yeldon, and Jasmine Evans, by and through their undersigned
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attorneys, will move before the Honorable Christina Reiss, United States District Judge, at a date

and time to be determined by the Court, for an Order:

               1.     Certifying the following Plaintiff classes pursuant to Fed. R. Civ. P. 23(a)

and (b)(3) and Local Rule 23:

               a.     All individuals who received a ticket or were arrested at a Buffalo Police

                      Department “traffic safety” vehicle checkpoint on or after June 28, 2015

                      (the “Checkpoints Class”);

               b.     All Black and/or Latino individuals who received multiple tinted windows

                      tickets from the Buffalo Police Department in a single traffic stop on or

                      after June 28, 2015 (the “Tinted Windows Class”);

               2.     Certifying the following Plaintiff class pursuant to Fed. R. Civ. P. 23(a)

and (b)(2) and Local Rule 23:

               a.     All Black and/or Latino individuals who have been or will be subjected to

                      traffic stops, traffic tickets, and “traffic safety” vehicle checkpoints by the

                      Buffalo Police Department (the “Traffic Enforcement Class”);

               3.     Appointing Plaintiffs Bonds, Evans, and Redden as representatives of the

Checkpoints Class, Plaintiffs Franklin, Palmer, and Yeldon as representatives of the Tinted

Windows Class, and all individual Plaintiffs as representatives of the Traffic Enforcement Class;

and

               4.     Appointing the National Center for Law and Economic Justice, Inc., the

Center for Constitutional Rights, the Western New York Law Center, Inc., and Covington &

Burling LLP as counsel for the certified classes.




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               The reasons for granting the motion are set forth in the accompanying Declaration

of Claudia Wilner dated May 29, 2024, with annexed exhibits thereto; Declaration of Edward P.

Krugman dated May 29, 2024, with annexed exhibits thereto; Declaration of Joseph Bonds dated

May 13, 2024; Declaration of Dorothea Franklin dated May 13, 2024; Declaration of De’Jon

Hall dated May 13, 2024; Declaration of Jasmine Evans dated May 21, 2024; Declaration of

Charles Palmer dated May 24, 2024; Declaration of Shaketa Redden dated May 13, 2024;

Declaration of Shirley Sarmiento dated May 16, 2024; Declaration of Taniqua Simmons dated

May 13, 2024; Declaration of Ebony Yeldon dated May 28, 2024; and the memorandum in

support of Plaintiffs’ motion for class certification dated May 29, 2024.

               Plaintiffs state that pursuant to Local Rule 7(b)(2)(B), they intend to serve reply

papers. Plaintiffs request oral argument of this motion.




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Dated: May 29, 2024


____________
Claudia Wilner                       Azmy Baher
Anjana Malhotra                      A. Chinyere Ezie
Edward Krugman                       CENTER FOR CONSTITUTIONAL
NATIONAL CENTER FOR LAW AND          RIGHTS
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                                     Counsel for Plaintiffs




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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 29, 2024, the foregoing document and accompanying motion

papers were filed with the Clerk of the Court and served in accordance with the Federal Rules of

Civil Procedure, and/or the Western District’s Local Rules, and/or the Western District’s Case

Filing Rules & Instructions upon all counsel registered through the ECF System.


                                                   /s/ Jordan S. Joachim




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